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  List of lieutenant governors of Texas
  From Wikipedia, the free encyclopedia

  Lieutenant Governor of Texas is the second-highest executive
  office in state government.

  For more information about the office and powers of the Lieutenant
  Governor see Lieutenant Governor of Texas.




                                                                        j Seal of the Lieutenant Governor
                                                                        S ofTexas




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                                                   EXHIBIT NO.iL
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              exhibitsticker.com




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                Name                            Years in Office            Party
Albert Clinton Horton             1846-1847                           Democratic
i John Alexander Greer            1847-1851                           Democratic
James Wilson Henderson            1851-1853                           Democratic
David Catchings Dickson           1853-1855                           Democratic
Hardin Richard Runnels            1855-1857                           Democratic
Francis R. Lubbock                1857-1859                           Democratic
Edward Clark                      1859-1861                           Democratic
John McClannahan Crockett         1861-1863                           Democratic
1 lacher Summerfield Stockdale    1863-1865                           Democratic
Vacant                            1865-1866                            -




George Washington Jones" •        1866-1867                           Democratic
Vacant                            1867-1870                            -




James W. Flanagan' 2 '            elected 1869                        Republican
Vacant                            1871-1874                            -



Donald Campbell ex officio        1870-1871                           Republican
David Webster Flanagan ex officio 1871                                Republican
Albert Jennings Fountain ex officio 1871-1873                         Republican
Edward Bradford Pickett ex officio 1873-1874                          Democratic
Richard Bennett Hubbard, Jr.      1874-1876                           Democratic
Vacant                            1876-1879                            -



Joseph Draper Sayers              1879-1881                           Democratic
Leonidas Jefferson Storey         1881-1883                           Democratic
Francis Marion Martin             1883-1885                           Democratic
Barnett Gibbs                     1885-1887                           Democratic
Thomas Benton Wheeler             January 18, 1887-January 19,1891    Democratic
George Cassety Pendleton          January 19, 1891-January 17,1893    Democratic
Martin McNulty Crane              January 17,1893-January 15, 1895    Democratic
George Taylor Jester              January 15,1895-January 17,1899     Democratic
James Nathan Browning             January 17, 1899-January 20, 1903   Democratic
George D. Neal                    January 20, 1903-January 15, 1907   Democratic
Asbury Bascom Davidson            January 15,1907-January 20, 1913    Democratic
William Harding Mayes             January 20, 1913-August 14, 1914    Democratic
Vacant                            1914-1915                            -



William Pettus Hobby, Sr.         January 19,1915-August 25,1917      Democratic
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 Vacant                                     1917-1919                                     -



 Willard Arnold Johnson                     January 21, 1919-January 18. 1921           Democratic
Lynch Davidson                              January 18, 1921-Januaiy 16 1923            Democratic
Thomas Whitfield Davidson                   January 16, 1923-January 20, 1925           Democratic
Barry Mil lei-                              January 20, 1925-January 20, 1931           Democratic
Edgar E. Witt                               January 20,1931-January 15, 1935            Democratic
Walter Frank Woodul                         January 15,1935-January 17, 1939            Democratic
Coke Robert Stevenson                       Januaiy 17,1939-August 4, 1941              Democratic
 Vacant                                     1941-1943                                     -



John Lee Smith                              January 19, 1943-Januaiy 21, 1947           Democratic
Robert Allan Shivers                        January 21, 1947-July 11, 1949              Democratic
 Vacant                                     1949-1951                                     -



Ben Ramsey                                  Januaiy 16,1951-September 18. 1961 Democratic
Preston Earnest Smith                       January 15,1963 - Januaiy 21,1969           Democratic
Ben Barnes                                  January 21, 1969-January 16, 1973           Democratic
William Pcttus Hobby, Jr.                   Januaiy 16, 1973 Tanuary 15, 1991           Democratic
Bob Bullock                                 Januaiy 15, 1991-January 19, 1999           Democratic
Rick Perry [3]                              January 19,1999-December 21, 2000 Republican
Bill Ratliff^                               December 28, 2000-January 21, 2003 Repuoncan
David Dewhurst                              January 21, 2003-present                    Republican

   1. A Jones was removed by General Philip Sheridan, commander of the Fifth Military District during
        Reconstruction and the office remained vacant until the 14th Legislature in 1874.
   2. A Flanagan was elected Lieutenant Governor in 1869 but was not inaugurated. He presided over the
        Provisional session, but left office after being selected as an at-large representative to the U.S. Congress.
        A
   3.       Perry vacated the office when he succeeded George W. Bush as Governor of Texas on December 21, 2000.
        A
   4.       Ratliff was chosen by the Texas Senate to finish the unexpired term due to the vacancy of Rick Perry's
        succession to the Governorship. Ratliff served until David Dewhurst was elected in 2002 and inaugurated on
        January 21, 2003.


Living former lieutenant governors
As of August 2014, four former lieutenant governors were alive. The most recent death of a former
lieutenant governor was that of Preston Smith (1963-1969), on October 18, 2003. The most recent
serving lieutenant governor to die was Bob Bullock (1991-1999), on June 18, 1999.
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Lt. Governor j Lt. Gubernatorial term i Date of birth
Ben Barnes       1969-1973                 [April 17. 1938
Bill Hobby      11973-1991                 Llanuaiy 19 1932
Rick Perry       1999-2000                 Maich 4, 1950
Bill Ratliff     2000-2003                 August 16, 1936


Source
   • Legislative Reference Library of Texas (http://www.lrl.state.tx.us/legis/leaders/ltgovbio.html)
   • Presiding Officers of the Texas Legislature, 1846-1982, Texas Legislative Council, Austin,
      Texas, August 1982.

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